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                                                               August 5, 2024

     VIA CM/ECF

     The Honorable Robert N. Chatigny
     United States District Court
     District of Connecticut
     450 Main Street, Room 228
     Hartford, Connecticut 06103

                            Re: United States v. Adam Siegel, 3:15-cr-00231-RNC

     Dear Judge Chatigny:

            The government wrongly asserts that Mr. Siegel breached his cooperation agreement in its
     untimely submission. See Government’s Memorandum in Aid of Sentencing, ECF No. 95 at 3.

            Since last Monday, when the government presented its request that Mr. Siegel meet with
     another prosecutor's office, he has taken steps to cooperate, notwithstanding significant procedural
     obstacles, some of which have already been resolved. He never refused to cooperate and never
     breached the agreement.

             The government is also wrong when it states it sought a 30-day adjournment. In fact, it
     was an open-ended adjournment request of “at least 30 days.” Government’s Motion to Continue
     Sentencing, ECF No. 87 at 1, 2. Moreover, the cooperation agreement did not require that Mr.
     Siegel consent to all adjournments requested.

             Significantly, since Mr. Siegel has taken various steps to cooperate both now and over the
     past nine years and has consented to numerous extensions during this period, it is the government–
     –not Mr. Siegel––who breached the cooperation agreement.

             Finally, please consider one final letter written in support from Scott Eichel, one of Mr.
     Siegel's supervisors from RBS, attached hereto as Exhibit A.
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We look forward to the sentencing tomorrow morning.


                                         Respectfully submitted,


                                         Michael G. Considine




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 5, 2024, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system as indicated on the Notice of Electronic Filing. Parties may access this filing

through the Court’s CM/ECF System.




                                               By: /s/ Michael G. Considine
                                                  Michael G. Considine




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